       Case 3:11-cv-00945-VAB Document 104 Filed 02/16/18 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

RICHARD SHARNICK,                       :     NO. 3:11CV00945(VAB)
     Plaintiff,                         :
                                        :
vs.                                     :
                                        :
DENNIS D’ARCHANGELO and                 :
FRANK A. PODPOLUCHA,                    :
     Defendants.                        :     FEBRUARY 16, 2018

                         STIPULATION OF DISMISSAL

      The undersigned hereby stipulate and agree, pursuant to

Federal Rule of Civil Procedure 41(a)(1)(A)(ii), that this action

shall be dismissed, with prejudice and without costs to any party.



                                        PLAINTIFF, RICHARD SHARNICK
                                     By /s/ Sally A. Roberts
                                        Sally A. Roberts
                                        Fed. Bar No.: ct24828
                                        Law Office of Sally A. Roberts
                                        11 Franklin Square
                                        New Britain, CT 06051
                                        Tel: 860.384.6701
                                        Fax: 860.920.5233
                                        sallyroberts@sallyrobertslegal.com
      Case 3:11-cv-00945-VAB Document 104 Filed 02/16/18 Page 2 of 2




                                       DEFENDANT, DENNIS D’ARCHANGELO

                                     BY__/ss/James N. Tallberg
                                       James N. Tallberg
                                       Federal Bar No.: ct17849
                                       Karsten & Tallberg, LLC
                                       500 Enterprise Dr., Suite 4B
                                       Rocky Hill, CT 06067
                                       T: (860)233-5600
                                       F: (860)233-5800
                                       jtallberg@kt-lawfirm.com

                              CERTIFICATION

    I hereby certify that on February 16, 2018, a copy of the

foregoing was filed electronically and served by mail on anyone

unable to accept electronic filing.        Notice of this filing will be

sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept

electronic filing.    Parties may access this filing through the

Court’s system.



                                  __/ss/James N. Tallberg
                                       James N. Tallberg




                                   - 2 -
